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Exhibit 36
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From: Cerny, Kim
Sent: Monday, December 19, 2016 5:19 PM
To: dwells@apa1224.org; bkirchner@apa1224.org
Cc: Carlson, Jeff
Subject: From the office of Jeff Carlson

Sent on behalf of Jeff Carlson, Senior Vice President, Flight Operations.


KIMBERLY CERNY
Sr. Manager, Crew Compensation & Administration
Flight Operations

ATLAS AIR
2000 Westchester Avenue | Purchase, NY 10577
t +1.914.701.8453
kim.cerny@atlasair.com | www.atlasair.com
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                                                                         Jeffrey D. Carlson
                                                                         Senior Vice President
                                                                         Flight Operations

                                                                         Atlas Air, Inc.
                                                                         2000 Westchester Avenue
                                                                         Purchase, New York 10577-2543




December 17, 2016

Daniel C. Wells
President
APA Teamsters Local 1224
2754 Old State Route 73
Wilmington, OH 45177

Robert Kirchner
International Brotherhood of Teamsters
2754 Old State Route 73
Wilmington, OH 45177

Dear Mr. Wells and Mr. Kirchner,

         The Atlas pilots, represented by the Teamsters, are calling in sick at a rate significantly higher than normal
past practice. The Atlas pilots are also refusing to volunteer for and accept “open time” flying in contravention of
past practice. As a result, Atlas is depleting its more than adequate supply of reserve pilots. The increased use of
sick leave and the refusal of crew members to volunteer for and accept open time flying in the ordinary course for
the purpose of causing a disruption to our operation, and in order to create leverage in collective bargaining
negotiations, constitutes an unlawful change in the status quo and is prohibited by the Railway Labor Act (“RLA”).

         As you know, the Teamsters and the Atlas pilots are obligated to maintain the status quo until negotiations
over a new collective bargaining agreement come to an end. Prior to that time, the Teamsters and their members
may not strike, or engage in work slowdowns or stoppages that have the effect of a strike. Detroit & Toledo Shore
Line R.R. v. United Transp. Union, 396 U.S. 142, 150 (1969). Even if a union does not instigate an illegal strike or
slowdown, it “is statutorily bound to do everything possible” to maintain the status quo “so that commerce is not in
any way interrupted.” See Delta Air Lines, Inc. v. Air Line Pilots Ass’n, 238 F.3d 1300, 1310 (11th Cir. 2001);
United Airlines, Inc., v. Int’l Ass’n of Machinists and Aerospace Workers, 243 F.3d 349 (7th Cir. 2001).

          We request that the Teamsters comply with its statutory obligation and immediately instruct its members
not to call in sick for the purpose of disrupting the Company’s operation, to return to normal practices of
volunteering for and accepting open time flying, and to not otherwise disturb the status quo in any other way. Atlas
would prefer to avoid legal action against the Teamsters, but we stand ready to pursue any and all remedies,
including damages, to protect our airline, its customers and the general public. Please promptly advise me of the
actions the Teamsters will take to address the foregoing.



Sincerely,




Jeff Carlson
Senior Vice President
Flight Operations
